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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JOHN DOE,                                     )
                                              )
              Plaintiff,                      )
                                              )   2:17-cv-01574
                        v.                    )
                                              )
CARNEGIE MELLON UNIVERSITY,                   )
                                              )
              Defendant.                      )



                              Hearing Type: Oral Argument

                                Date: December 5, 2017

                              Before: Judge Mark R. Hornak




Counsel for Plaintiff              Timothy Lyon

Counsel for Defendant              Catherine Ryan; Jeffrey Weimer; Jim Mercolini

Court Reporter                     Richard Ford

Law Clerk                          Katherine Vaky

Start time                         4:00 PM

End time                           5:12 PM

                             SUMMARY OF PROCEEDINGS:


      The Court held Oral Argument on Plaintiff’s Motion for Temporary Restraining
      Order and Preliminary Injunction [ECF No. 5]. An appropriate Order will issue.
